
SHORES, Justice. .
Pursuant to Rule 5, Ala. R.App. P., this Court granted AAA Cooper Transportation, Inc., permission -to appeal from an interlocutory order denying its motion for a summary judgment in an action brought by Jimmy Sims, alleging retaliatory discharge in violation of Ala.Code 1975, § 25-5-11.1.
AFFIRMED: NO OPINION. See Rule 53(a)(1) and (a)(2)(F), Ala. R.App. P.
ALMON, KENNEDY, COOK, and BUTTS, JJ., concur.
HOOPER, C.J., and MADDOX, HOUSTON, and SEE, JJ., dissent.
